      Case: 3:18-cv-00834-wmc Document #: 7 Filed: 05/08/19 Page 1 of 2



              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF WISCONSIN


SHAWN D. JONES,

           Plaintiff,

     v.                                  Case No. 18CV0834

BURTON COX,

           Defendant.


                        NOTICE OF SUBSTITUTION


     PLEASE TAKE NOTICE that the Defendant substitutes as his

attorneys of record in this action Katherine C. Polich and Laure Rakvic-Farr,

Assistant Attorneys General, in place of Shannon A. Conlin.        Defendant

requests that service of all discovery and correspondence be made upon

Assistant Attorneys General Polich and Rakvic-Farr as counsel of record at

Wisconsin Department of Justice, Post Office Box 7857, Madison, Wisconsin

53707-7857. All other papers should be served through the Court’s CM/ECF

system.

     Dated this 8th day of May, 2019.


                                   Respectfully submitted,

                                   JOSHUA L. KAUL
                                   Attorney General of Wisconsin
      Case: 3:18-cv-00834-wmc Document #: 7 Filed: 05/08/19 Page 2 of 2



                                   s/Laure Rakvic-Farr
                                   LAURE RAKVIC-FARR
                                   Assistant Attorney General
                                   State Bar #1049540

                                   KATHERINE C. POLICH
                                   Assistant Attorney General
                                   State Bar #1065796

                                   Attorneys for Defendants

Wisconsin Department of Justice
Post Office Box 7857
Madison, Wisconsin 53707-7857
(608) 266-0323 (Rakvic-Farr)
(608) 267-7163 (Polich)
 (608) 267-8906 (Fax)
rakvic-farrlc@doj.state.wi.us
PolichKC@doj.state.wi.us




                                     2
